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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                       )
                                                )
                               Plaintiff,       )
                                                )
vs.                                             )       Case No. 01-CR-30140-03-MJR
                                                )
EDWARD SEALS,                                   )
                                                )
                               Defendant.       )

                                MEMORANDUM and ORDER

REAGAN, District Judge:

               By opinion dated August 16, 2005, the United States Court of Appeals for the

Seventh Circuit directed a limited remand to this Court for proceedings consistent with United States

v. Paladino, 401 F.3d 471 (7th Cir. 2005), after Defendant Edward Seals (sentenced under the then-

mandatory scheme of the U.S. Sentencing Guidelines) challenged his sentence under United States

v. Booker, 543 U.S. 220 (2005).        Specifically, this Court sentenced Seals to 360 months

imprisonment, which included a term of 276 months for the count of aggravated robbery and a term

of 84 months for the count of using a firearm during the robbery. Now that the guidelines, post-

Booker, are advisory, the case has been returned, so this Court can determine whether its sentence

would be different.

               Paladino instructs that, on limited remand, the sentencing judge must determine

whether he would reimpose his original sentence. “If so, we will affirm the original sentence against

a plain-error challenge provided that the sentence is reasonable, the standard of appellate review

prescribed by Booker.” If, “on the other hand, the judge states on limited remand that he would have



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imposed a different sentence had he known the guidelines were merely advisory,” the Seventh

Circuit “will vacate the original sentence and remand for resentencing.” Paladino, 401 F.3d at 484.

               In deciding whether to reimpose the original sentence, this Court solicited the views

of counsel via written briefs and listened to oral argument presented by the parties at a Paladino

hearing held before this Court on December 2, 2005.

               After considering the briefs, arguments of counsel, Seals’ pre-sentence report, co-

defendant Johnson’s pre-sentence reports, and the Court’s private notes, this Court now advises the

Court of Appeals that this Court’s sentence would have been no different had Seals been sentenced

post-Booker.

               IT IS SO ORDERED.

               DATED this 7th day of December, 2005.


                                                     s/ Michael J. Reagan
                                                     MICHAEL J. REAGAN
                                                     United States District Judge




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